Case 8:16-cv-02111-DOC-ADS Document 116 Filed 12/11/18 Page 1 of 4 Page ID #:4188




    1 Christina Garcia
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    2
      Mission Viejo, CA 92692
    3 Telephone: 949-922-9729
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    7
    8                       UNITED STATES DISTRICT COURT
    9        CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
   10
   11 CHRISTINA GARCIA, ON BEHALF                     Lead Case No.
      OF MINOR CHILD, A.G.,                           SACV16-cv-02111-DOC-(ADSx)
   12
                    Plaintiff,                        Consolidated Case No.:
   13                                                 SACV17-cv-01787-DOC-(JDEx)
             v.                                       SACV17-cv-01585-DOC-(JCGx)
   14
      CAPISTRANO UNIFIED SCHOOL                       PLAINTIFF’S NOTICE OF
   15 DISTRICT, COMMUNITY ROOTS
      ACADEMY, JEREMY CAVALLARO,                      MOTION AND MOTION TO
   16 an individual, LINDA KOO, an                    COMPEL PRODUCTION OF
      individual, DANA AGUILERA, an                   DOCUMENTS
   17 individual, KATY LANDIS, an
      individual, ANNE SABINA, an
   18 individual, MYLA CANDELARIO, an                 Judge: Hon. Judge David O. Carter
      individual, CHERIE BENE, an
   19 individual (All individuals in both their       Action Filed: November 23, 2016
      official and individual Capacities),            FAC Filed: December 14, 2016
   20
                    Defendants.                       SAC Filed July 24, 2017
   21                                                 TAC Filed May 5, 2018
   22
   23 PLEASE TAKE NOTICE THAT the hearing for this Motion to Compel is
   24 scheduled for January 16, 2019 at 10:00am in Courtroom 6B. This Motion to
   25 Compel is brought in accordance with Federal Rule of Civil Procedure Rules, Rule
   26 37(a)(3). Plaintiff, Christina Garcia, requests that the Court enter an order
   27 compelling Defendants CUSD, and individual Defendants represented by Harbottle
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                                  PLAINTIFF’S MOTION TO COMPEL
Case 8:16-cv-02111-DOC-ADS Document 116 Filed 12/11/18 Page 2 of 4 Page ID #:4189




    1 Law Group, to produce documents originally requested on June 18, 2018 as
    2 specified in this motion.
    3
            On July 18, 2018 Defendants responded to Plaintiff’s requested stated they
    4
        would produce their documents by August 6, 2018; however, by August 6, 2018
    5
        Defendants failed to produce most of the requested documents.
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    7
            Plaintiff met and conferred in good faith with Sydney Blaauw and Dan
    8
        Harbottle on multiple occasions since July 2018, both formally and informally. Each
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        time Plaintiff requested that Defendants produce specific documents, Defendants’
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        counsel stated they would look to see if there were more.
   11
   12
            The Harbottle Law attorneys have consistently responded to Plaintiff’s
   13
        continuing request for documents by aggressively expressing their dissatisfaction
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        with Plaintiff’s discovery responses; however, they only bring up their
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        dissatisfaction when Plaintiff requests they produce the documents originally
   16
        requested on June 18, 2018. Given the nature of this case, nearly all relevant records
   17
        are in Defendants’ possession. Defendants produced roughly half of all of their
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        documents on October 26, 2018 – more than four months after Plaintiff’s original
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        request and just a week and a half before the deadline to serve any further discovery
   20
        papers. Defendants’ ongoing delay tactics and ultimate refusal to produce many of
   21
        the most relevant requested documents has substantially prejudiced Plaintiff.
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   23
            On November 9, 2018 Parties participated in an informal telephonic conference
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        with Magistrate Judge Spaeth. During the conference, Parties agreed that by
   25
        November 12, 2018, Plaintiff would specifically identify the documents Defendants
   26
        had not produced and that Defendants would respond by November 16, 2018. On
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                                    PLAINTIFF’S MOTION TO COMPEL
Case 8:16-cv-02111-DOC-ADS Document 116 Filed 12/11/18 Page 3 of 4 Page ID #:4190




    1 November 16, 2018 Defendants responded only with a letter, and they failed to
    2 produce any of the requested records.
    3
    4      On November 27, 2018 Parties participated in a second informal telephonic
    5 conference with Magistrate Judge Spaeth. During this conference, Defendants stated
    6 they would produce any remaining documents, including a Redaction Log, by
    7 December 4, 2018. Despite participating in two informal phone conferences,
    8 Defendants have completely failed to produce any of the records that were discussed
    9 during the phone conferences.
   10
   11      Through this motion, Plaintiff requests that the Defendants be compelled to
   12 produce the following documents:
   13      1. All internal emails written during the 2013-2014 school year specifically
   14         relating to A.G. or Plaintiff. (As of the writing of this motion, Defendants
   15         have not produced a single internal email from the 2013-2014 school year.
   16         Plaintiff’s Fraud allegations pertain to the 2013-2014 school year).
   17      2. All reports, including drafts, and observation notes, written by any assessor
   18         who assessed A.G. during the 2013-2014 school year.
   19      3. All audit reports from Synergy, and any other programs used by CUSD, that
   20         specifically relate to A.G.’s special education, assessments, and IEP.
   21      4. Unredacted copies of all documents containing redactions as Defendants
   22         have failed to produce a redaction log.
   23      5. The requested documents are necessary to support Plaintiff’s allegations of
   24         Defendants’ fraud, deceit, and ongoing misconduct. Synergy Technology has
   25         audit trail capabilities that can track detailed information associated with
   26         every change made within synergy. At a minimum, these documents will
   27         support Plaintiff’s allegations that Defendants failed to provide statutorily
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                                   PLAINTIFF’S MOTION TO COMPEL
Case 8:16-cv-02111-DOC-ADS Document 116 Filed 12/11/18 Page 4 of 4 Page ID #:4191




    1         required documents and that they created documents specifically to use as
    2         evidence for the OAH hearing.
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    4      The Declaration of Christina Garcia and accompanying exhibits support the
    5 assertion made by Plaintiff during the phone conference that the audit trail reports
    6 are easily accessible by CUSD and that they do not require any type of coding or
    7 technical expertise. Dan Harbottle’s statements during the phone conference
    8 regarding the technical expertise and difficulty level that may be involved in
    9 accessing the documents from a third party, were nothing more than further attempts
   10 to avoid turning over evidence likely to objectively prove CUSD’s deceptive
   11 practices.
   12
   13        Plaintiff respectfully requests that this Court issue an order compelling
   14 Defendants to immediately produce all documents described in this motion.
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   16 Dated: December 11, 2018
   17
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                                                     By_____________________________
   19                                                   Christina Garcia, Plaintiff
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                                   PLAINTIFF’S MOTION TO COMPEL
